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                                                      March 19, 2018

BY ECF

Honorable Katharine H. Parker
United States Magistrate Judge
Southern District of New York
500 Pearl Street, Suite 1950
New York, New York 10007
       Re:     City of Almaty, Kazakhstan, et ano. v. Mukhtar Ablyazov, et al.,
               Case No. 15 Civ. 5345 (AJN) (KHP)
Dear Judge Parker:
         We represent the City of Almaty, Kazakhstan and BTA Bank (“the Kazakh Entities”),
and write in opposition to the March 16, 2018 letter motion of Ilyas and Victor Khrapunov [ECF
No. 573] seeking reconsideration of the Court’s factual finding in its March 5, 2018 Order [ECF
No. 564] that “Ilyas Khrapunov has played games with this Court in the past, and his violation of
the Confidentiality Order here is simply another example of this behavior,” and providing, as
merely one “example” of Khrapunov’s history of game-playing, his offer and last-second refusal
to testify remotely at the sanctions hearing. For the reasons that follow, the Court’s decision was
manifestly correct, and the Khrapunovs’ motion for reconsideration should be denied.
                                         Legal Standard
       Reconsideration is only appropriate where the moving party identifies an “intervening
change in controlling law, the availability of new evidence, or the need to correct a clear error or
prevent manifest injustice.” Schoolcraft v. City of New York, 298 F.R.D. 134, 136 (S.D.N.Y.
2014).
                                            Discussion
        There is simply no basis for reconsideration here. The Khrapunovs certainly have not
offered either controlling law or overlooked evidence justifying reconsideration: they cite no
law whatsoever – never mind law the Court purportedly overlooked – and they have not
identified any evidence at all supporting reconsideration – let alone “new” evidence not
previously available to them. They certainly cannot claim that the Court’s factual findings are
manifestly unjust when considered against the Court’s unchallenged finding that they violated
Judge Nathan’s protective order by leaking the confidential transcript of Mr. Rakishev’s
deposition.
       A.      The Court Correctly Found That Ilyas Khrapunov “Has Played Games With
               This Court In The Past,” Regardless Of The Specific Example He Challenges
        As an initial matter, the Court’s finding that Ilyas Khrapunov has “played games with this
Court in the past” is one-hundred-percent accurate, even putting aside his false offer to testify
remotely, which the Court cited as merely one “example” of his past behavior. Among other
things, the Khrapunovs have ambushed Plaintiffs’ witnesses with hacked and privileged
documents, announced their intention to harass and intimidate witnesses on Facebook, noticed
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the deposition of a high-ranking Kazakh government official for no reason other than to write a
Facebook post about it, refused to produce (or even to collect) responsive documents, pretended
not to remember or have access to the “hundreds” of e-mail accounts used by Ilyas Khrapunov,
destroyed the e-mail server for one of the few accounts he does remember, lied in their
depositions, failed to disclose the location of the Petelins in the United States notwithstanding
their claim that the Petelins will exonerate them, stage-managed the litigation strategy of third
parties, attempted to dispose of key assets during the pendency of this action, and leaked the
confidential deposition transcript of Mr. Rakishev.
        As but one more example of this game-playing, the Khrapunovs attempted to insert
brand-new evidence into the record on the Kazakh Entities’ sanctions motion, resulting in the
Court granting a motion to strike. The Khrapunovs’ motion for reconsideration is simply another
example of them attempting to produce evidence and make arguments that were fully available
to them earlier, but which they chose to forego. But “[r]econsideration will generally be denied
unless the moving party can point to controlling decisions or data that the court overlooked . . .
Crucially here, a party moving for reconsideration cannot assert new arguments which were not
before the court on the original motion.” CF 135 Flat LLC v. Triadou SPV S.A., No. 15-cv-5345
(AJN) (KHP), 2016 WL 3481061, at *1 (S.D.N.Y. June 21, 2016) (internal quotation marks,
citations, and alterations omitted).
       B.      The Khrapunovs Utterly Fail To Point To Overlooked Law, New Evidence,
               Or Manifest Injustice – The Standard For Reconsideration
        The gist of the Khrapunovs’ reconsideration motion is that they were blameless in the
false offer to testify remotely, and that their counsel offered them up to testify without ever
conferring with them. This argument was not presented earlier and, with all respect to counsel, it
is not plausible – nor is it supported by any actual evidence.
               1.      All of the Khrapunovs’ Arguments on Reconsideration Could Have
                       Been, But Were Not, Made Earlier
        First, the Khrapunovs could have, but failed to, present evidence or argument that they
were personally unaware of the offer to testify remotely during the sanctions hearing itself or at
their deposition. There is no question that the Kazakh Entities put this issue directly before the
Court, offering both evidence and extensive argument about it. [See ECF No. 490, at 14-15].
The Khrapunovs, however, offered no evidence on this point, and in their post-hearing brief
devoted a total of two sentences to the issue:
       BTA/Almaty cite the Khrapunovs’ inability to appear at the evidentiary hearing as
       evidence of their deceptive conduct but—tellingly—they do not dispute that
       Swiss law prohibits the Khrapunovs from providing telephonic testimony from
       Switzerland. See Br. 14-15. The Khrapunovs should not be penalized for
       upholding the laws of the country in which they reside.
[ECF No. 502 at 13 (Br. at 9)]. Nowhere did the Khrapunovs argue that they were unaware that
their counsel had offered them to testify by phone, or that their counsel filed the motion to appear
without conferring with them.1 The Khrapunovs are simply attempting to re-write the record to


1      In their proposed findings of fact, the Khrapunovs asserted that their U.S. counsel had not
spoken with the Khrapunovs’ Swiss counsel. See ECF No. 503, ¶ 14 (“The application was filed
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avoid the consequences of their dishonest behavior. This is the exact same conduct that led the
Court to sanction them and strike portions of their post-hearing briefing. [ECF No. 564, at 7-8].
The Khrapunovs are not entitled to offer new arguments and theories on reconsideration that they
failed to raise when they had the chance. See Richard Feiner & Co., Inc. v. BMG Music Spain,
No. 01 Civ. 0937 (JSR), 2003 WL 21496812, at *1 (S.D.N.Y. June 27, 2003) (“[P]laintiff is
advancing new arguments without excuse as to why these arguments were not raised previously,
and these arguments are therefore not cognizable on a motion for reconsideration.”).
               2.     The Khrapunovs’ Story Is Not Plausible, And Does Not Undermine
                      The Court’s Findings In Any Event
         Second, the Khrapunovs’ arguments are not plausible and are not supported by any
evidence. On November 2, 2017, the Khrapunovs filed their letter opposing the Kazakh Entities’
request for an evidentiary hearing. In that letter, the Khrapunovs both (1) offered to appear by
phone, and (2) submitted an affidavit from Ilyas Khrapunov denying that he leaked the transcript.
Compare ECF No. 456-1 (I. Khrapunov Aff.) with ECF No. 456, at 2 (“[W]e ask that Mr.
Khrapunov be permitted to testify by phone at any evidentiary hearing.”). Khrapunov’s affidavit
made clear that he understood the substance of the Kazakh Entities’ sanctions motion, and it is
obvious from a review of the affidavit that it benefited from the work of U.S. counsel. Hence, it
is beyond question that Ilyas Khrapunov was personally aware of the Kazakh Entities’ sanctions
motion at the time that of his offer to testify remotely. Yet the Khrapunovs are asking the Court
to believe that this offer was made without his knowledge, and that Khrapunov did not review
the filing in opposition to the Kazakh Entities’ sanctions motion before it was filed.
        Even if that were possible, on November 6, 2017, the Court issued an order setting an
evidentiary hearing on the Kazakh Entities’ sanctions motion, and requiring any party who
wished to testify remotely to make an appropriate application within two days. [ECF No. 458].
In response, on November 8, 2017, the Khrapunovs submitted a letter motion to the Court, the
sole purpose of which was to ask to testify telephonically. [ECF No. 459]. Thus, the
Khrapunovs are asking this Court to believe that Ilyas Khrapunov was also not provided notice
of the Court’s order setting the sanctions hearing, or of his specific motion to appear
telephonically before it was filed. This makes no sense.
         Moreover, the Khrapunovs also ask the Court to believe that none of the November 2
letter asking to appear telephonically, the Court’s November 6 Order, the Khrapunovs’
November 8 letter motion requesting to appear telephonically, or the Court’s November 9
memo-endorsement granting that request [ECF No. 461] were forwarded to Ilyas Khrapunov
after they were filed, and he thus remained ignorant for two weeks, until November 14, 2017 –
after preparation for his testimony would have begun, and logistical arrangements would have


before the undersigned had an opportunity to speak with the Khrapunovs’ Swiss counsel.”). But
there are at least two problems with this assertion. First, it was – and remains – unsupported by
any record evidence. Second, and more importantly, it says nothing about when counsel spoke
with the Khrapunovs themselves about this issue. As discussed below, the record is clear that
Ilyas Khrapunov was in touch with his U.S. counsel regarding the sanctions motion at the point
at which they offered his testimony, and of course it was Khrapunov himself, and not his U.S. or
Swiss counsel, whom the Court correctly criticized. If the Khrapunovs themselves wanted to
claim ignorance, the time to do so was long ago.
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been made – at which time the Khrapunovs informed the Court that they would not to testify and
requested to postpone the hearing. [ECF No. 463].2
        It is not in dispute that that Ilyas Khrapunov himself was well aware of the Swiss law he
would eventually raise to avoid testifying – having invoked it in precisely the same
circumstances, at the last moment, to scuttle an evidentiary hearing in the United Kingdom – so
even if counsel truly did offer for their clients to testify by phone without prior consultation, the
Khrapunovs themselves were obligated to promptly correct that error once they learned of it. At
best, therefore, the Khrapunovs allowed their counsel to make an argument and assert a position
that they full well knew to be wrong, with the inevitable consequence of disrupting the sanctions
hearing. Even on this charitable view of the facts, drawing every conceivable (yet implausible)
inference in the Khrapunovs’ favor, the Court would still be correct to criticize Ilyas Khrapunov
for yet again “play[ing] games with this Court.”
               3.      The Khrapunovs’ Arguments Are Not Supported By Any Evidence
        The Khrapunovs’ explanations for their misconduct are – like their testimony itself – not
credible, and notably not supported by any actual evidence. The Khrapunovs never testified to
any of the purported facts they now offer on reconsideration, such as their lack of knowledge
about the offer or motion to testify by phone, or the Court’s orders. The Khrapunovs could
certainly have offered sworn statements to this effect before the evidentiary hearing, or offered
testimony about the same during their depositions; as set forth above, the Kazakh Entities had
put their conduct with respect to testifying remotely at issue. But they did neither, and they must
now live with that record, rather than once again trying to insert evidence after-the-fact that is
not subject to cross-examination. Instead, their letter merely puts forward counsel’s
“understanding of the relevant facts.” Ltr., at 1. The Khrapunovs have already been found by this
Court to be untrustworthy, and they should not be allowed to trade on their counsel’s good name
to make statements of fact unsupported by any evidence. See Raucci v. Town of Rotterdam, 902
F.2d 1050, 1059 (2d Cir. 1990) (“[A]ttorney's arguments [are] not evidence.”).3


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       The Khrapunovs’ November 14 letter further reveals their gamesmanship, as they
believed (incorrectly) they were sending the letter on the day before the hearing. [ECF No. 463
(Khrapunovs’ letter dated November 14, informing the Court that they would not testify “at the
November 15, 2017 evidentiary hearing”)]. In fact, the hearing was always scheduled for
November 17.

3      To the extent the Court is given any pause by the Khrapunovs’ motion for reconsideration,
the Khrapunovs should be forced to provide actual evidence that could be confronted. Among
other things, counsel should be forced to prove this point by producing all of their
communications with their clients and Swiss counsel (and between their clients and Swiss
counsel alone) from the date the Kazakh Entities requested the hearing (October 30, 2017) to the
date the Khrapunovs finally informed the Court that they would not appear (November 14, 2017).
Having put the lawyer-client communications on this point at issue to defend their conduct, the
Khrapunovs can no longer claim these to be privileged. See United States v. Bilzerian, 926 F.2d
1285, 1292 (2d Cir. 1991) (privilege normally protecting attorney-client communications would
implicitly be waived where defendant sought to use absence of advice from counsel as a defense,
while also claiming that his conversations with counsel were privileged.).
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                                            Conclusion
        Nowhere in the Khrapunovs’ letter do they challenge the Court’s ultimate finding that
they leaked the Rakishev Transcript, or that Ilyas Khrapunov’s testimony on this point was not
credible. Nonetheless, they are forcing the Kazakh Entities to incur yet more expense on an issue
where the Court has already sanctioned the Khrapunovs and awarded the Plaintiffs attorneys’
fees. The fact that the Khrapunovs are seeking only limited reconsideration of a small portion of
the Court’s Order, just one business day before their time to object under Rule 72(b)(2) would
otherwise expire, suggests that their motion for reconsideration is nothing more than a play for
time to try and draw out this motion sequence. The Kazakh Entities respectfully request an
expedited ruling on this meritless reconsideration motion.
        Moreover, the Kazakh Entities should be entitled to recover fees from the Khrapunovs
related to this new round of briefing on the Khrapunovs’ already-established violations of the
protective order. The Khrapunovs have willfully breached multiple court orders, and if they wish
to further draw out briefing on this subject – especially because they do not take issue with the
Court’s ultimate finding of contempt – it should be at their own expense.4
       For the above reasons, the Khrapunovs’ request for reconsideration should be denied on
an expedited basis, and they should be ordered to pay fees in connection with this motion. The
Kazakh Entities can supplement their fee application within two business days of any order.
                                                       Respectfully,
                                                        /s/ Matthew L. Schwartz
                                                       Matthew L. Schwartz




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         Up to this point, the Kazakh Entities have worked under the assumption that counsel to
the Khrapunovs has been unaware of their clients’ sanctionable behavior. But while counsel was
presumably unaware that their clients leaked the Rakishev transcript, they are now abetting the
Khrapunovs’ sanctionable conduct by submitting a frivolous motion that does not even try to
meet the standard for reconsideration, and points to no overlooked law, facts (indeed, it points to
no facts grounded in actual evidence at all), or manifest injustice. Rule 37(b)(2)(C) addresses
failure to comply with discovery orders, and explicitly contemplates an award of attorneys’ fees
against “the disobedient party, the attorney advising that party, or both.” While the Kazakh
Entities are not seeking to collect fees from counsel at this time, they reserve the right to do so if
the Khrapunovs themselves refuse to pay the sanctions against them.
